
273 Kan. 71 (2002)
41 P.3d 287
In the Matter of the Adoption of BABY GIRL S., a Minor Child, d.o.b. 5/20/00.
No. 86,319.
Supreme Court of Kansas.
Opinion filed March 8, 2002.
Anne Burke Miller, of Seaton, Miller, Bell &amp; Seaton, L.L.P., of Manhattan, argued the cause and was on the briefs for appellants, adoptive parents.
Susan C. Jacobson, of Jacobson &amp; Jacobson, of Junction City, argued the cause and was on the briefs for appellee, natural father.
The opinion of the court was delivered by
ABBOTT, J.:
The potential adoptive parents appeal the trial court's denial of their motion to terminate the parental rights of M.B., the biological father of Baby Girl S. In a published opinion by Judge Marquardt, a unanimous panel of the Court of Appeals reversed the decision of the trial court and ordered the case remanded with instructions to terminate the natural father's parental rights and to grant the petition for adoption. In re Adoption of Baby Girl S., 29 Kan. App. 2d 664, 29 P.3d 466 (2001). This court granted M.B.'s petition for review.
We have carefully considered and reviewed the briefs, arguments, and the record in this case, and we conclude that the Court of Appeals was correct. We, therefore, adopt the opinion of the Court of Appeals and affirm the Court of Appeals and reverse the trial court.
DAVIS, J., not participating.
BRAZIL, S.J., assigned.[1]
NOTES
[1]  REPORTER'S NOTE: Judge J. Patrick Brazil was appointed to hear case No. 86,319 vice Justice Davis pursuant to the authority vested in the Supreme Court by K.S.A. 20-2616.

